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                                                                                      FILED
                                                                            CLERK, U.S. DISTRICT COURT

 Name/Address of Attorney or Pro Per
 Clinton Brown                                                                2/17/23
  16821 Edgar Street                                                           cs
                                                                          CENTRAL DISTRICT OF CALIFORNIA
                                                                            BY: ___________________ DEPUTY

  Pacific Palisades, CA 90272
 Telephone (310) 487-6453
 G FPD         G Apptd         G CJA     G Pro Per

                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
Clinton Brown                                                        CASE NUMBER:
                                                                                                             2:22-cv-09203-MEMF-KS
                                                     PLAINTIFF(S),
                                  v.
Clark R. Taylor, AICP, The Los Angeles                               Motion and Affidavit for Leave to Appeal In Forma
County Department of Regional Planning                               Pauperis:     G 28 U.S.C. 753(f)
                                                 DEFENDANT(S).                     G 28 U.S.C. 1915


The undersigned Clinton Brown                           , a party in the within action, moves the Court under 28 USC § 1915
for authorization to prosecute an appeal without prepayment of fees and costs or security therefor, and for the preparation of
a Court Reporter's transcript at government expense.

1. I believe I am entitled to redress, and the issues which I desire to present on my proposed appeal are the following:
     a.    28 U.S.C. 1915(c)

     b.
     c.


2. Because of my poverty I am unable to pay the costs of the proposed appeal proceeding or to give security therefor. I swear
     that the following responses are true.


     a. Are you presently employed? G Yes              G No. If the answer is yes, state the amount of your salary or wages per
           month and give the name and address of your employer. $15,000 a month (intermittent), Atlas, Inc. 16821 Edgar Street,
           Pacific Palisades, CA 90272




     b. Have you received, within the past twelve months, any income from a business, profession or other form of self-
           employment, or in the form of rent payments, interest, dividends, or other source? G Yes                      G No.
           If the answer is yes, describe each source of income and state the amount received from each during the past twelve
           months.
           Self-Employment, $180,000




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     c. Are you presently employed in prison? G Yes               G No.
           If yes, state the number of hours you work per week and the hourly rate of pay.
           N/A


     d. Do you own any cash or do you have money in a checking or savings account? G Yes                      G No.
           If the answer is yes, state the amount of money in each account separately as of six (6) months prior to the date of this
           affidavit. Checking, typically $0 or a negative balance. Once money goes in, it goes right out for expenses and business.




     e. Do you own any real estate, stocks, bonds, notes, automobiles, or other valuable property (excluding ordinary
           household furnishings and clothing)? Yes, in-foreclosure and set for trustee's sale undetermined value until that time.
           Note: On January 4th & 5th, 2023 two properties were sold back to beneficiary. Another property has a March 8th auction.



     f.    In what year did you last file an income tax return? 2021




     g. Approximately how much income did your last tax return reflect? -1,500,000




     h. List the persons who are dependent upon you for support and state your relationship to those persons.
           Erick Ordaz, Partner, $90,000



     i.    State monthly expenses, itemizing the major items. Home lease, $5,725 (includes all utilities), Transportation, $1003
           Food, living, automobile insurance, health insurance, life insurance, renter/property insurance, business operations; $10,000
           (varies), NWCU Law School payment plan, $325.



     I declare under penalty of perjury that the foregoing is true and correct.




                                                                                               Signature of Party




                          Date                                                                 Signature of Attorney
                                                                                      (Disregard if filed in propria persona)




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